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                                                                  Linesheet                                                   User:        Janett Rios



 Case: MS-l+0093                  Target:   5759565668-120214             Line: 5759565668-120214              File Number:

Sesslon:             127                Date:                   12105t2014       Classifi   cation: Non-Pertinent     Duratlon:       00:00:29
ilonitored By:                          Start Time:             11:34:24 MST     Complete:          Not Completed     Directlon:      lncoming
In Dlglts:           5052402645         Asscociate Number:      (505) 240-2645   Partlclpants:      PADILLA,TOBY
                                                                                                    UM546


          o   ls
     GHOST CALL
     EM




Session:             '128               Date:                   12t05t2014       Classification:    Non-Pertinent     Duratlon:       00:00:39
Monitored     By:    esthern            Start Tlme:             12:15:12 MST     Complete:          Not Completed     Direction:      lncoming
ln   Digits:         9542040200         Asscociate Number:      (954) 2M-0200    Partlcipants:      CLAIMASSISTANCEGROUP
                                                                                                    PADILLA, TOBY




 A,/O: "l'M SORRY THE PERSON YOU ARE TRY NG TO REACH HAS A VOICEMAIL BOX THAT HAS
 NOT BEEN SET UP YET, PLEASE TRY YOUR CALL AGAIN LATER, GOOD BYE.''
 IEND OF CALLI
 EIVI




Session:             129                Date:                   12t05t2014       Glasslfication:    Non-Pertinent     Duration:      00:00:39
Itlonltorcd By:                         Start Tlme:             12:15:12 MST     Complete:         NotCompleted       Direction:      lncoming
ln   Digits:         9542040200         Asscoclate Number:      (954) 204-0200   Pailicipants:     CLAIMASSISTANCEGROUP
                                                                                                   PADILLA, TOBY


              IS
 GHOST CALL
 EM




Session:             130                Date:                   '12105t2014                Pertinent
                                                                                 Classification:     Duratlon:                       00:0'l:14
Monitored     By:    estherm            Start Time:             12:36:50 MST     Complete: Completed Direction:                      Outgoing
Out   Digits:        5755742491         Asscociate Number:      (575) 574-2491   Participants:     PADILLA,TOBY
                                                                                                   TT3 DANIEL JACQUEZ AKA DAN/DANNY




 TOBY TO UM96
 PARTIES GREETED. TOBY SAID TOBY WAS WAITING ON ALONZO BECAUSE ALONSO HAD SAID
 ALONZO WAS GOING TO BRING !T [NFt] TO TOBY. UM96 ACKNOWLEDGED AND ASKED TOBY TO
 LET UM96 KNOW WHAT WAS GOING ON BECAUSE UM96 WAS GOING TO BE LEAVING TO\[N
 AROUND 4:00 AND WAS GOING TO TRY TO MEET TOBY BEFORE (LEAVING TOIIN) TO BE ABLE

                                    -   GOVERNMENT

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                                    I
                                                -l
                                          EXHIBIT
                                                                         U.S. v. Ja         uez et al     linesheets          1317
07 11612015    1 1   :50:38 MDT     -                                                                                                37 of 870
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                                                                 Linesheet                                                    User:     Janett Rios



 Gase:    MS-1+0093             Target:   5759565668-1202'14               Line: 5759565668-120214             File Number:
                                                                                                                                               I
 TO GIVE THAT [NFllrO UM96'S BROTHER. TOBY ACKNOWLEDGED. UM96 ADDED THAT tN THAT
 wAY UM96'S BROTHER COULD HAVE TOBY TAKEN CARE OF TOO [NFt]. TOBY SA|D THAT tF NOT
 (ALONZO DIDN',T GIVE lT [NFl]TO TOBY) TOBY WAS GOING TO GET UM96 WHATEVER TOBY cOT
 lNFll uM96 ACKNOWLEDGED. TOBY SAID HE (ALONZO) HAD GOTTEN TOBY 5 [NFr]ALREADY
 BUT STILL OWED TOBY THE REST OF tT [NFt]. UM96 ACKNOWLEDGED. TOBY RETTERATED
 THAT WAS WHY TOBY WAS WAITING ON HIM (ALONZO). UM96 ACKNOWLEDGED. TOBY SAID
 AGAIN THAT TOBY WAS GOING TO GIVE UM96 AT LEAST WHATEVER TOBY GOT RIGHT NOW.
 UM96 ACKNOWLEDGED.
 TOBY ASKED IF UM96 WAS AT UM96'S HOUSE. UM96 REPLIED UM96 WAS EATING REAL QUICK
 AND WAS GOING TO CALL TOBY WHEN UM96 GOT OUT OF THE RESTAURANT. TOBY
 ACKNOWLEDGED. PARTIES CONCURRED.
 IEND OF CALLI
     EM




Session:           131               Date:                     12105t2014         Classlflcatlon    Non-Pertinent     Duratlon:    00:00:12
Monltored By:                        Start Time:               12:36:51 MST       Gomplete:         Not Completed     Direction:   Outgoing
Out Dlgits:                          Asscociate Number:                           Partlclpants:     PADILLA, TOBY


Synopsis
 DUPLICATE CALL
 EM




Session:           132               Date:                     12t05t2014         Classlficationl Non-Pertinent Duration:          00:00:34
ilonltored By: estherm               Start Tlme:               13:06:45 MST       Complete:         Not   Completed   Direction:   lncoming
ln   Digits:       9542040200        Asscociate Number:        (954)   2il-0200   Participants:     CLAIM ASSISTANCE GROUP
                                                                                                    PADILLA, TOBY


Sy4qp,gis
 A/O: I'M SORRY THE PERSON THAT HAD BEEN TRYING TO REACH HAS A VOICEMAIL BOX THAT
 HAS BEEN SET UP YET.
 IEND OF CALLI
 EM




Sesslon:           133               Date:                     12t05t2014                   Non-Pertinent
                                                                                  Classification:                     Duration:    00:00:34
Monitored By:                        Start Tlme:               13:06:45 MST       Complete: Not Completed             Direction:   lncoming
ln   Dlgits:       9542040200        Asscoclate Number:        (954) 204-0200     Partlclpants: CLAIMASSISTANCEGROUP
                                                                                                    PADILLA, TOBY


              IS



                                                                          U.S. v. Jacquez et al. (linesheets) 1318
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